Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 1 of 15 PageID 323




                        UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA



  ERICA BEISWINGER, individually, and on
  behalf of all others similarly situated,
                      Plaintiff,
                                                   Case No. 3:20-cv-01286-HES-PDB
        v.
  WEST SHORE HOME LLC, a Pennsylvania
  company,
                      Defendant.




               Economic Assessment of the Value of Remedial Relief
              in Connection with Class Action Settlement Agreement




                                       April 10, 2022

                                        Prepared by

                                   Jon Haghayeghi, Ph.D.




                               J. Herbert Burkman & Associates
                                    4026 Lemmon Avenue
                                           Suite 200
                                     Dallas, Texas 75219


                                   jon@burkmaneconomics.com

                                              1
Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 2 of 15 PageID 324




              ECONOMIC ASSESSMENT OF THE VALUE OF REMEDIAL RELIEF


                                                         I. INTRODUCTION

                     A class action settlement was reached on behalf of all persons in the United
                 States to whom West Shore Home, LLC, either directly or by a vendor of West
                 Shore Home, LLC, (1) whose telephone numbers Defendant obtained as a result
                 of a Facebook ad campaign, and (2) who were called by or on behalf of
                 Defendant (a) one or more times using a prerecorded voice and/or (b) two or
                 more times in a twelve month period on a telephone number that had been
                 registered with the National Do Not Call Registry for more than thirty days.1
                 The lawsuit alleges that such contact by Defendant violated the Telephone
                 Consumer Protection Act, 47 U.S.C. § 227 (the "TCPA").

                     The undersigned economist, Jon Haghayeghi, Ph.D., has been retained by
                 Plaintiff’s counsel to assess (the “Assessment”) the benefits accruing to class
                 members from the remedial relief the Settlement Agreement provides. The
                 Assessment includes reviewing, analyzing, and evaluating the economic impact
                 of the Settlement Agreement, and identifying the net benefits conferred on
                 members of the class. The Assessment also identifies other positive
                 externalities inuring to the favor of non-party beneficiaries and related parties.
                 The Assessment measures the aggregate economic value of the Settlement to
                 class members against the backdrop of conventionally accepted measurement
                 methodologies extant within the discipline of economics and its sub-field, cost-
                 benefit analysis (CBA).

                     It merits noting that the Assessment’s quantitative analysis includes the
                 monetized value of non-monetary remedial relief inherent in the Settlement
                 Agreement. By agreeing to change its practices to avoid non-compliance with
                 the TCPA, Defendant West Shore Home, LLC has set in motion a series of
                 positive benefits that may be readily valued for a broad swath of society.

                     In summary, the undersigned economist believes the Settlement Agreement
                 has far-reaching societal effects and bestows positive economic externalities
                 reaching well beyond the benefits directly bestowed on the parties subject to
                 the Settlement Agreement included in the report herein.




          1
            Erica Beiswinger, individually, and on behalf of all others similarly situated, Plaintiff, v. West Shore Home LLC, a Pennsylvania
 company Defendant. United States District Court for the Middle District of Florida, Settlement Agreement and Release. Case No. 3:20-cv-01286-
 HES-PDB



                                                                       2
Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 3 of 15 PageID 325




                                        II. QUALIFICATIONS

                Dr. Haghayeghi joined J. Herbert Burkman & Associates economics
            consulting firm in 2009. He earned his bachelor’s and master’s degrees in
            Economics from Southern Methodist University, Dallas, Texas. In 2012, Dr.
            Haghayeghi represented the United States at the Institute for Studies on
            Economics and Employment, a conference hosted by Nobel Laureates in
            Economics in Iseo, Italy. He earned his Ph.D. in economics in 2017 from the
            Department of Economics, Claremont Graduate University, Claremont,
            California. Dr. Haghayeghi wrote his dissertation on weak-form efficiency in
            U.S. equity markets under the guidance of Dr. John Rutledge. Throughout his
            tenure in his doctoral program, he taught courses at California State
            Polytechnical University in the Department of Finance, Real Estate, and Law,
            Pomona, California.

                Dr. Haghayeghi has taught at Loyola Marymount University, Department
            of Economics, Los Angeles, California. He has also taught valuation seminars
            on calculating economic damages in Las Vegas, San Diego, and Chicago in
            2014, 2017, and 2021, respectively, to members of the American Rehabilitation
            Economics Association. Dr. Haghayeghi currently serves as the Executive
            Director of the State of Alaska’s Commercial Fisheries Entry Commission, a
            quasi-judicial agency dedicated to preserving the economics of commercial
            fishing for the state.


                   III.    ECONOMICS OF THE SETTLEMENT AGREEMENT

       A.      Assessing the Economic Value of the Settlement Agreement

                As noted in the introduction, the discipline of economics provides the
            theoretical framework and quantitative methods central to assessing the benefits
            accruing to all persons affected by the Settlement Agreement. With respect to
            the settlement, review and analysis have identified the benefits inuring to the
            class and a broad spectrum of society.

               1. Economic Benefit

                The primary economic benefit to consumers is the value provided by a
            change in West Shore Home, LLC’s behavior. Ceasing the calling conduct
            assures all current and future targeted consumers will not experience
            interference of privacy from telemarketing calls by West Shore Home, LLC. In
            this matter, the absence of telemarketing calls from West Shore Home, LLC,
            assures consumers of telephone privacy and non-interference with their daily
            lives. At the same time, revised practices assure West Shore Home, LLC that
            in the future consumers may not challenge its telemarketing practices. The

                                                 3
Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 4 of 15 PageID 326




                    revisions to practices have three broad categories of beneficiaries, including 1)
                    targeted consumers 2) West Shore Home, LLC, and 3) society in general. The
                    revisions to practice represent assured privacy to consumers and relief of
                    displeasure. It is understood that the pre-class action lawsuit status quo has been
                    permanently altered. Future targeted consumers will never need to be concerned
                    with the diminishment of privacy and pleasure at any time. Society is likely
                    spared the need to relieve any future party that experiences damages.

                          2. Determining Willingness-to-Pay

                        To determine a reasonable aggregate value of the relief brought about by
                    the Settlement Agreement, economists rely on the methods and procedures
                    established in the discipline of economics and its sub-field, cost-benefit
                    analysis. In assessing benefits, cost-benefit analysts routinely rely on
                    consumers’ willingness-to-pay to gain knowledge or remove an undesired
                    feature impacting consumer satisfaction derived through a purchase. The
                    willingness-to-pay methodology permits direct assessment of a range of
                    reasonable choices in the decision process in this matter. Economists identify
                    value associated with each choice.

                          3. Valuing Privacy and the Absence of Telemarketing Calls

                        As with all decisions to spend on goods and services, consumers seek to
                    maximize their satisfaction, or utility, through their purchases. Relatedly, in
                    their selection and purchase of any good or service, consumers exhibit a
                    willingness-to-pay for the absence of an undesired feature. CBA allows
                    economists to measure and then place a value on benefits that derive from how
                    much consumers are willing-to-pay for the absence of an undesired feature, or
                    in this case, the forbiddance of unsolicited telemarketing calls. With reference
                    to the mentioned practices of West Shore Home, LLC, any phone call made
                    implies displeasure and diminishment of privacy. What value does the absence
                    of an undesired feature have for consumers?

                          4. Determining Value and Benefit

                        Value is most readily observed through the study of consumer behavior with
                    respect to TCPA. Using data from the federal “Do Not Call” registry, best
                    estimates indicate that consumers are willing to pay $8.25 to avoid unwanted
                    calls for one year.2 Willingness-to-pay reveals a range of reasonable values
                    representing the diversity of consumer preferences.3




 2
     See Appendix 2, Table 1 for a reasonable range of plausible price points for purchasing privacy and the absence of displeasure.
 3
     Png, Ivan P. L., On the Value of Privacy from Telemarketing: Evidence from the 'Do Not Call' Registry (June 2007).


                                                                           4
Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 5 of 15 PageID 327




                With the range of prices presented in Appendix 1, Table 1, Table 1.A, Table
            1.B, Table 1.C, and Table 2, Table 2.A, Table 2.B, and Table 2.C, the
            undersigned economist has relied on federal government-collected telephone
            number assignment data and peer-reviewed research on the value of privacy to
            assess the societal value of the remedial relief.

                Products designed to stop undesired telemarketing calls range in price from
            $1.99 to $3.99 per month. The Settlement Agreement, much like these products,
            assists in the removal of a specific undesired feature. The known market value
            of such products serves to assist in measuring of the economic benefit bestowed
            on each class member as a result of the Settlement Agreement.

                In summary, this analysis follows the broad assessment guidelines
            established by the framework of economic theory and the application of
            empirical analysis to the determination of economic value. As reviewed above,
            the broad foundations of microeconomic theory and cost-benefit analysis are
            drawn upon to assess the reasonable value of the reformed and modified
            business practices and initiatives acknowledged in the parties’ Settlement
            Agreement. It is the undersigned economist’s opinion, developed with a
            reasonable degree of economic certainty, that the estimates in this report are
            conservatively low and are limited to analysis of class-members. This analysis
            excludes other societal interests and stakeholders that would typically be
            included in a comprehensive cost-benefit analysis.

       B.       Correcting Market Externalities

                Before briefly outlining this report’s conclusions, it is useful to identify the
            manner in which economics provides the framework for valuation
            undertakings. By definition, economics is the study of how society values its
            resources. Economists widely agree that a society’s resources -- naturally
            occurring, human, and capital -- are valued by a combination of their usefulness,
            their abundance or scarcity and prevailing supply and demand conditions.
            Ultimately, the value of a resource is reflected in its price. Natural resources –
            the earth’s bounty of land, minerals and water, to name a few naturally-
            occurring resources -- are valued by the dollars spent to bring them to market,
            where supply conditions meet demand. Capital, often referred to as man-made
            means of production, is valued by its role in transforming natural resources into
            usable final goods and services. Finally, labor – the human resource – is valued
            by its ability to work with capital and natural resources in delivering a product
            with timely and efficient effort.

                In assessing the value of a resource, economists rely on factual information,
            assumptions and forecasts. In those rare instances when the basic facts about a
            resource are known and generally agreed upon, economic assessment is often
            straightforward. When basic facts are subject to interpretation and conflict,

                                                   5
Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 6 of 15 PageID 328




                    analysis and review are critical. When forecasts become part of the equation,
                    any number of conflicting interpretations may arise. Assessment proceeds with
                    the recognition that underlying premises, assumptions, and expectations are
                    often controversial. As a result, the undersigned economist is behooved to
                    present associated benefits to consumers at several available price levels and
                    over multiple time horizons.

                        In evaluating the reasonableness of those price levels, it is important to note
                    the legislative history and statutory language of any public policy may be
                    relevant when considering the societal benefit that may result from the
                    enactment of the public policy. With respect to the TCPA, Congress
                    acknowledges prospective gains in societal benefit by prohibiting non-
                    consensual telephone solicitations when it provided for the recovery of actual
                    monetary loss or statutory damages in the amount of $500 for each such
                    violation, whichever is greater. In the case of willful violations, the court may,
                    in its discretion, increase the amount of the award to an amount equal to not
                    more than 3 times $500, or $1,500.4 And certainly, there are members of the
                    class who value such protection in the amount of $500 dollars or more.

                        In the instant matter, we pursue a more conservative approach by
                    identifying several willing-to-pay price points based on the most conservative
                    conclusions of Do-Not-Call research. Table 1 in Appendix 2 summarizes these
                    values ranging from a minimum of $0.55 to a maximum of $98.33.5 Each value
                    represents a willingness-to-pay for the benefit of not receiving unwanted phone
                    calls. It is from these values that we derive our best estimate of the present
                    value of the post-settlement remedial relief using an average willing-buyer-
                    price-point. With the recognition that there are short-term and long-term
                    benefits associated with remedial relief delivered by the Settlement Agreement,
                    the undersigned economist has calculated annual values for class-members for
                    the next five years at three price levels referenced in Appendix 2.

                       This study concludes that a conservative measure of remedial relief at an
                    annual price-to-avoid of $3.22 per year is $1,024,353 for class members (see
                    Appendix 1, Table 1 and Table 1.B).


                                                             IV. CONCLUSION

                        As reviewed herein, it is my opinion – held with reasonable economic
                    certainty – that the economic value of the non-monetary benefits bestowed by
                    the Settlement Agreement on class members is at least $1,024,353.


 4
     47 U.S.C. § 227
 5
     The sources of all values are provided in Appendix 2.



                                                                6
Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 7 of 15 PageID 329




              This Assessment does not cover any additional broad societal interests and
          their values, and once again remains a conservative assessment of the value of
          the Settlement Agreement in this matter.

             In closing this report, the undersigned economist is available to respond to
          any question raised about the methods and procedures used in reaching the
          conclusions herein.

             The above-cited appendices follow.




                                                                 ___________________

                                                                 Jon Haghayeghi, Ph.D.




                                              7
Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 8 of 15 PageID 330




                                 APPENDICES




                                       8
Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 9 of 15 PageID 331




                                 APPENDIX 1

                         VALUING REMEDIAL RELIEF




                                       9
                Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 10 of 15 PageID 332




                                                                          TABLE 1

                                                                     SUMMARY TABLE

                             PRESENT VALUE OF REMEDIAL RELIEF FOR INDIVIDUALS IMPACTED BY WEST SHORE HOMES
                                                               2021 TO 2025

                                  Erica Beiswinger, individually, and on behalf of all others similarly situated, Plaintiff
                                                                 v. West Shore Home LLC

                           Case No. 3:20-cv-01286-HES-PDB, United States District Court for the Middle District of Florida




                                                                             Aggregate Present Value of Remedial Relief from Non‐Consensual
                                                                                Telemarketing Calls with Willingness‐to‐Pay Methodology
          Number of members of the settlement class                                             and Prices Ranging from
           benefiting from the absence of undesired                                               $.55 to $8.25 annually
                          phone calls


                                                                              $.55 / year               $3.22 / year                $8.25 / year




 In 2021, the expected annual
       number of non‐
                                              318,122                          $174,967         [1]      $1,024,353           [2]   $2,630,869      [3]
consensual telemarketing calls
             made




For 5 years (2021 to 2025), the
  expected number of non                     1,590,610                         $849,615         [4]       4,974,109           [5]   12,775,120      [6]
consensual telemarketing calls




[1] If all impacted members of the settlement class were willing to pay $.55 annually in order to avoid the cost of experiencing telemarketing
calls. See Table 2.A, Column 7. Varian, Hal, Fredrik Wallenberg, and Glenn Woroch, “Who Signed Up for the Do-NotCall List?” School of
Information, University of California, Berkeley, June 15, 2004.
[2] If all impacted members of the settlement class were willing to pay $.55 annually in order to avoid the cost of experiencing telemarketing
calls. See Table 2.A, Column 8. Varian, Hal, Fredrik Wallenberg, and Glenn Woroch, “Who Signed Up for the Do-NotCall List?” School of
Information, University of California, Berkeley, June 15, 2004.
[3] If all impacted members of the settlement class were willing to pay $3.22 annually in order to avoid the cost of experiencing telemarketing
calls. See Table 2.C, Column 7. Png, Ivan P. L., On the Value of Privacy from Telemarketing: Evidence from the 'Do Not Call' Registry (June
2007). Available at SSRN: https://ssrn.com/abstract=1000533 or http://dx.doi.org/10.2139/ssrn.1000533
[4 ]If all impacted members of the settlement class were willing to pay $3.22 annually in order to avoid the cost of experiencing telemarketing
calls. See Table 2.A, Column 8. Png, Ivan P. L., On the Value of Privacy from Telemarketing: Evidence from the 'Do Not Call' Registry (June
2007). Available at SSRN: https://ssrn.com/abstract=1000533 or http://dx.doi.org/10.2139/ssrn.1000533
[5 ]If all impacted members of the settlement class were willing to pay $8.25 annually in order to avoid the cost of experiencing telemarketing
calls. See Table 2.B, Column 8 Png, Ivan P. L., On the Value of Privacy from Telemarketing: Evidence from the 'Do Not Call' Registry (June 2007).
Available at SSRN: https://ssrn.com/abstract=1000533 or http://dx.doi.org/10.2139/ssrn.1000533
[6 ]If all impacted members of the settlement class were willing to pay $8.25 annually in order to avoid the cost of experiencing telemarketing
calls. See Table 2.C, Column 8. Png, Ivan P. L., On the Value of Privacy from Telemarketing: Evidence from the 'Do Not Call' Registry (June
2007). Available at SSRN: https://ssrn.com/abstract=1000533 or http://dx.doi.org/10.2139/ssrn.1000533


For a complete review of willingness-to-pay methodology, see Anthony E. Boardman, David H. Greenberg, Aidan R. Vining, and David L.
Weimer, Cost-Benefit Analysis, Concepts and Practice, Prentice Hall, 4th Edition, Boston, 2011, pages 81-99.
                                        Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 11 of 15 PageID 333




                                                                                              TABLE 2.A

                                                                               PRESENT VALUE OF REMEDIAL RELIEF

                                                          SCENARIO 1: VALUE OF AVOIDING UNWANTED TELEMARKETER PHONE CALLS

                                                       Erica Beiswinger, individually, and on behalf of all others similarly situated, Plaintiff
                                                                                      v. West Shore Home LLC

                                               Case No. 3:20-cv-01286-HES-PDB, United States District Court for the Middle District of Florida



         COL 1                  COL 2                          COL 3                          COL 4                         COL 5                       COL 6              COL 7
         YEAR            SIZE OF SETTLEMENT                  ANNUAL                   EXPECTED BENEFIT TO                DISCOUNT                   PRESENT VALUE       CUMULATIVE
                                CLASS                  WILLINGNESS-TO-PAY                 CONSUMERS                       FACTOR                          OF           PRESENT VALUE
                                                                                                                                                   EXPECTED BENEFIT          OF
                                                                                                                                                                      EXPECTED BENEFIT

                                                                                                                                                     COL 5 / COL 6



                                  (#)                            (#)                           ($)                           ($)                          ($)               ($)

0        2021                  318,122           [1]            0.55            [3]         174,967                         1.000                      174,967            174,967
1        2022                  318,122                          0.55                        174,967                         1.000                      174,967            349,934
2        2023                  318,122                          0.55                        174,967                         1.018           [4]        171,856            521,791
3        2024                  318,122                          0.55                        174,967                         1.051                      166,439            688,229
4        2025                  318,122           [2]            0.55                        174,967                         1.084                      161,386            849,615
         Total                                                                                                                                         849,615


    [1] The settlement class includes 318,122 individuals. The start date of this analysis is January 1, 2021.
    [2] This model terminates December 31, 2025, or after five years.
    [3] Research indicates that lowest estimated willingess-to-pay for privacy from telemarketers is $.55 annually. See Appendix 2, Table 1.
    [4] Factors in this column are based on yields on U.S. Treasury Securities as of April 8, 2022.
                                        Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 12 of 15 PageID 334




                                                                                              TABLE 2.B

                                                                               PRESENT VALUE OF REMEDIAL RELIEF

                                                          SCENARIO 2: VALUE OF AVOIDING UNWANTED TELEMARKETER PHONE CALLS

                                                       Erica Beiswinger, individually, and on behalf of all others similarly situated, Plaintiff
                                                                                      v. West Shore Home LLC

                                                Case No. 3:20-cv-01286-HES-PDB, United States District Court for the Middle District of Florida




         COL 1                   COL 2                         COL 3                          COL 4                         COL 5                       COL 6              COL 7
         YEAR            SIZE OF SETTLEMENT                  ANNUAL                   EXPECTED BENEFIT TO                DISCOUNT                   PRESENT VALUE       CUMULATIVE
                                CLASS                  WILLINGNESS-TO-PAY                 CONSUMERS                       FACTOR                          OF           PRESENT VALUE
                                                                                                                                                   EXPECTED BENEFIT          OF
                                                                                                                                                                      EXPECTED BENEFIT

                                                                                                                                                     COL 5 / COL 6



                                  (#)                            (#)                           ($)                           ($)                          ($)               ($)

0        2021                  318,122           [1]            3.22            [3]        1,024,353                        1.000                     1,024,353          1,024,353
1        2022                  318,122                          3.22                       1,024,353                        1.000                     1,024,353          2,048,706
2        2023                  318,122                          3.22                       1,024,353                        1.018           [4]       1,006,142          3,054,847
3        2024                  318,122                          3.22                       1,024,353                        1.051                      974,423           4,029,271
4        2025                  318,122           [2]            3.22                       1,024,353                        1.084                      944,839           4,974,109
         Total                                                                                                                                        4,974,109



    [1] The settlement class includes 318,122 individuals. The start date of this analysis is January 1, 2021.
    [2] This model terminates December 31, 2025, or after five years.
    [3] Research indicates that baseline willingess-to-pay for privacy from telemarketers is $3.22 annually. See Appendix 2, Table 1.
    [4] Factors in this column are based on yields on U.S. Treasury Securities as of April 8, 2022.
                                        Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 13 of 15 PageID 335




                                                                                              TABLE 2.C

                                                                               PRESENT VALUE OF REMEDIAL RELIEF

                                                          SCENARIO 3: VALUE OF AVOIDING UNWANTED TELEMARKETER PHONE CALLS

                                                       Erica Beiswinger, individually, and on behalf of all others similarly situated, Plaintiff
                                                                                      v. West Shore Home LLC

                                                Case No. 3:20-cv-01286-HES-PDB, United States District Court for the Middle District of Florida



         COL 1                   COL 2                         COL 3                          COL 4                         COL 5                       COL 6              COL 7
         YEAR            SIZE OF SETTLEMENT                  ANNUAL                   EXPECTED BENEFIT TO                DISCOUNT                   PRESENT VALUE       CUMULATIVE
                                CLASS                  WILLINGNESS-TO-PAY                 CONSUMERS                       FACTOR                          OF           PRESENT VALUE
                                                                                                                                                   EXPECTED BENEFIT          OF
                                                                                                                                                                      EXPECTED BENEFIT

                                                                                                                                                     COL 5 / COL 6



                                  (#)                            (#)                           ($)                           ($)                          ($)               ($)

0        2021                  318,122           [1]            8.27            [3]        2,630,869                        1.000                      2,630,869          2,630,869
1        2022                  318,122                          8.27                       2,630,869                        1.000                      2,630,869          5,261,738
2        2023                  318,122                          8.27                       2,630,869                        1.018           [4]        2,584,097          7,845,835
3        2024                  318,122                          8.27                       2,630,869                        1.051                      2,502,634         10,348,468
4        2025                  318,122           [2]            8.27                       2,630,869                        1.084                      2,426,651         12,775,120
         Total                                                                                                                                        12,775,120


    [1] The settlement class includes 318,122 individuals. The start date of this analysis is January 1, 2021.
    [2] This model terminates December 31, 2025, or after five years.
    [3] Research indicates that central willingess-to-pay for privacy from telemarketers is $8.27 annually. See Appendix 2, Table 1.
    [4] Factors in this column are based on yields on U.S. Treasury Securities as of April 8, 2022.
Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 14 of 15 PageID 336




                                  APPENDIX 2

         SUPPORTING DOCUMENTS FOR VALUING WILLINGNESS-TO-PAY




                                       10
Case 3:20-cv-01286-HES-PDB Document 31-1 Filed 04/11/22 Page 15 of 15 PageID 337



                                                 TABLE 1

               VALUE OF PROTECTION FROM NON-CONSENSUAL SURVEY CALLS:
                            WILLING BUYER'S PRICE POINTS



    PRICE PER
                                                   SOURCE / SUPPORT
      YEAR

                   Varian et al.’s (2004) estimate ranged from $60 million to $3.6 billion a year. With
       $0.55       108.4 million households, this was equivalent to a range of $0.55 to $33.21 per
                   household per year.
                   Png, Ivan P. L., On the Value of Privacy from Telemarketing: Evidence from the 'Do Not
       $3.22       Call' Registry (June 2007). Available at SSRN: https://ssrn.com/abstract=1000533 or
                   http://dx.doi.org/10.2139/ssrn.1000533
                   Png, Ivan P. L., On the Value of Privacy from Telemarketing: Evidence from the 'Do Not
       $8.25       Call' Registry (June 2007). Available at SSRN: https://ssrn.com/abstract=1000533 or
                   http://dx.doi.org/10.2139/ssrn.1000533
                   Png, Ivan P. L., On the Value of Privacy from Telemarketing: Evidence from the 'Do Not
                   Call' Registry (September 2007). The perceived value of the “do not call” registry to
       $13.19      rangefrom $13.19 to $98.33 per household. The implied national gain inconsumer
                   welfare (relative to the state level registries) ranged from $1.42 to $11.62 billion.

                   Nomorobo app charges $1.99 per month for Robocall Blocking.
       $23.88      https://play.google.com/store/apps/details?id=com.nomorobo&hl=en
                   Varian et al.’s (2004) estimate ranged from $60 million to $3.6 billion a year. With
       $33.21      108.4 million households, this was equivalent to a range of $0.55 to $33.21 per
                   household per year.
                   Hiya Charges Users $2.99 per month to block calls via iOS app.
       $35.88      https://blog.hiya.com/hiya-premium-providing-more-value-to-the-phone-experience/

                   Verizon charges $2.99 per month for its Call Filter. https://www.verizon.com/solutions-
       $35.88      and-services/call-filter/
                   Robokiller - Robocall Blocker charges $3.99 per month to block spam calls.
       $47.88      https://play.google.com/store/apps/details?id=com.robokiller.app&hl=en_US

                   Png, Ivan P. L., On the Value of Privacy from Telemarketing: Evidence from the 'Do Not
                   Call' Registry (September 2007). The perceived value of the “do not call” registry to
       $98.33
                   rangefrom $13.19 to $98.33 per household. The implied national gain inconsumer
                   welfare (relative to the state level registries) ranged from $1.42 to $11.62 billion.

                   Measures of Central Tendency:

                                  Mean:                 $30.03
                                Median:                 $28.55
